Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 1 of 13




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                          Case No. lO-CV-80737-HURLEYIHOPKINS
      (Consolidated with Case No. lO-CV-80738-HURLEYIHOPKINS for the Receivership)

   UNITED STATES SECURITIES AND
   EXCHANGE COMMISSION,
   Plaintiff,
   v.
   TRADE-LLC, et aI.,
   Defendants,
   v.
   BD LLC, et aI.,
   Relief Defendants.
   _______________________________

   COMMODITY FUTURES TRADING
   COMMISSION,

   Plaintiff,

           V.

   TRADE-LLC, et aI.,

   Defendants,

   BD LLC, et aI.,

   Relief Defendants.
   ------------------------------~I
                  RECEIVER'S UNOPPOSED MOTION FOR ENTRY OF
                ORDER AUTHORIZING FINAL DISTRIBUTION AND ON
          DISPOSITION OF RECEIVERSHIP CLAIMS, INCLUDING LATE CLAIMS

           Jeffrey C. Schneider, not individually, but solely in his capacity as receiver (the

   "Receiver") for Trade-LLC, BD LLC, TWTT-LLC, CMJ Capital LLC, and Center Richmond

   LLC (collectively, the "Receivership Entities" or "Trade"), moves this Court for entry of the

   attached Order (Exhibit H) authorizing the Receiver to make a final distribution of $1,783,000 to




                               LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
     201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 2 of 13




   the claimants with "allowed claims"J in the Updated Claim Matrix (Exhibit A) and to the late

   claimants with "allowed claims" in the Late Claim Matrix (Exhibit C). The Receiver also moves

   for the disposition of certain claims, such as the late claims, in the receivership.

                                                         INTRODUCTION

             The Receiver was appointed on June 23, 2010. After six lawsuits (all of which have been

   resolved), multiple demands and pre-suit settlements and the liquidation of countless items

   (including homes, apartments, jewelry, furniture, art work, and the like), the Receiver was

   granted authority to distribute $5.5 million in November 2011. This represented approximately a

   25% distribution. The Receiver is now prepared to make a final distribution of $1,783,000,

   which represents approximately a 9% distribution, and to ultimately close this case. 2

        I.        The First Distribution

                  A. Summary of Procedure3

             The Receiver obtained Court-approval to make his first distribution in the amount of $5.5

   million in November 2011 [DE 136].4 Many claim forms initially had some type of deficiency,


      "Allowed claims" include: (1) previous claimants who timely filed claims to which the
   Receiver did not object; (2) previous claimants who timely responded to the Receiver's objection
   and whose claim was resolved; (3) previous claimants who did not respond to the Receiver's
   objection and thus whose claim was treated as the Receiver recommended; and (4) the claimants
   who filed late claims to which the Receiver has no objections.

   2  The Receiver plans to keep a reserve of $40,000 to cover the expenses of issuing 1099's,
   finalizing tax returns, enforcing pending settlement agreements, and winding-down the estate.
   Depending on judgments the Receiver is holding and/or compliance with outstanding
   settlements, it is possible that the Receiver will collect additional amounts in the future and move
   to reopen the case to make another distribution. Unfortunately, however, the Receiver does not
   hold out much hope that the judgments are collectible. The details of those judgments will be
   delineated in the Receiver's Final Report.

   3 The Receiver previously filed a Motion delineating the distribution procedures [DE 130],
   which this Court approved [DE 133].

   4 There were 1,020 proof of claim forms submitted by investors.
                                                                 2
                                  LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
       201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
---- -.   ~::-"f'   -T ::--               -   ----:-:.'\-             -' - I                                         ---   "-,----.   1-'--



  Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 3 of 13




               many of which were easily cured by the claimant (such as signing the claim form, providing

               proof of identity, agreeing to the Receiver's recommended claim amount, or producing the

               requested records).5 Once the deficiency was cured, the claimant then automatically had an

               "allowed claim" under the protocol that the Receiver developed and this Court approved. And

               the proposed cure period, which was self-executing, worked efficiently as planned and helped to

               cure the majority of the initially deficient claims, which then allowed the Receiver to issue first

               distribution checks promptly without further Court Order or delay. In short, and as the Receiver

               hoped for, there were very few "disputed claims" after the cure period expired in early December

                2011. The formula for calculating the first distribution checks was as follows: the amount of the

               "allowed claim" divided by the total amount of filed claims as of the first distribution

                ($22,333,684.84), multiplied by the first distribution amount ($5,500,000.00).

                                  B. Disputed Claims

                              There were several claimants who disagreed with the Receiver's objection to, or

                recommended disposition of, their claim. These claims were called "disputed claims." The

                claimant and the Receiver had ninety calendar days to resolve "disputed claims." If the Receiver

                was unable to resolve the issue, the Receiver could file a motion for summary disposition. The

                only Motions for Summary Disposition that the Receiver filed involved Jool Club claimants

                whose funds were not transferred to Trade [DE 151 and 153]. The Receiver provided notice of

                the motions to the affected "disputed" claimants and filed their responses for this Court's

                consideration. This Court granted the Motions for Summary Disposition [DE 163].




                5 Some investors did not include the bank records confirming their investment, but most of those
                deficiencies were cured by the Receiver when he assembled the bank records to track each
                investor's investment.
                                                                                 3
                                                 LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
                       201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
      ~-
                                                                                                              ~   -"'----------

Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 4 of 13




           The Receiver did not need to file additional motions for summary disposition regarding

   other "disputed" claimants because he was able to resolve all issues with those claimants. As

   stated above, most objections were resolved by the claimant providing the necessary bank

   records supporting hislher claim, providing a copy of hislher driver's license, or agreeing to the

   Receiver's proposed claim amount.

           Those claimants who had a "disputed claim" but with whom the Receiver settled are now

   included as "allowed claims" in the Updated Claim Matrix (Exhibit A).

                C. Disallowed Claims

           If the Receiver objected to paying a claim and that claimant did not respond to the

   Receiver's objection, the objection was deemed sustained and the claim denied. These claims

   were called "disallowed claims." The "disallowed claims" are listed in the Disallowed Matrix,

   which is attached as Exhibit B. The Disallowed Matrix also includes the Jool Club claimants

   whose claims were disallowed as a result of the Receiver's Motions for Summary Disposition.

                D. Late Claims

           The Receiver received several claims after filing his first distribution motion.                                       The

   Receiver has designated these as "late claims." In total, the Receiver received 10 late claims,

   which he has since analyzed. The claims procedure permitted the Receiver to address late claims

   on a case-by-case basis, using his discretion.

           The Receiver has reached an agreement with the majority of late claimants on hislher

   respective claim amount, which is reflected in the Late Claim Matrix, which is attached as

   Exhibit C. All but two late claimants have "allowed claims." The two late claims to which the

   Receiver has objected are described below.




                                                               4
                               LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
     201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
                                                                                          ~-
                                                                                                                     ~-   ~   r   ~




Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 5 of 13




           First, late claimants RobertlVirginia Hall were Jool Club investors whose funds were also

   never transferred to Trade. As previously briefed, the last transfer from Jool Club to Trade was

   July 9, 2009; however, according to the Halls' claim form, their investment was on July 27,

   2009.     This was the subject of the Receiver's above-described Motions for Summary

   Disposition. The Receiver has provided a copy of this Court's Order to Mr. Hall. As such, the

   Receiver has recommended that the Halls' claim be disallowed. A copy of the Halls' claim form

   is attached as Exhibit D.

           The second late claim to which the Receiver has objected is from late claimant Albert

   Van Kirk. Mr. Van Kirk's claim form is attached as Exhibit E. Mr. Van Kirk has made a claim

   for $165,000.00 based on investments in New Life Club. The Receiver analyzed this claim and

   determined that Mr. Van Kirk received $570,000.00 from Trade directly, despite never investing

   any funds directly into Trade personally. Therefore, the $570,000.00 from Trade is technically a

   profit to Mr. Van Kirk. Netting the $570,000.00 profit with the $165,000.00 purported New Life

   loss results in a net profit of $405,000.00. As such, the Receiver has objected to Mr. Van Kirk's

   late claim and recommended that his claim be disallowed in this receivership.

           The Receiver has not sued Mr. Van Kirk for the $405,000 profit, because from the

   Receiver's investigation and conferences with the CFF Receiver (Phillip S. Stenger), the

   Receiver has learned that Mr. Van Kirk invested approximately $433,000 in CFF, but never

   received any returns from CFF directly.                 Any losses by Mr. Van Kirk regarding his CFF

   investment will be part of the claims procedure in the CFF receivership pending in Michigan. A

   copy of the Receiver's Affidavit on Mr. Van Kirk's claim is attached as Exhibit F.

           The Receiver is serving this Motion, along with an explanatory cover letter attached as

   Exhibit G, by U.S. Mail and electronic mail on the above two late claimants for them to have an


                                                               5
                               LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
     201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
                                                                         --~                          .~   r

Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 6 of 13




   opportunity to respond to this Motion. The Receiver will gladly file any response provided by

   these two late claimants on their behalf, assuming they do not retain counsel. The Receiver

   requests that this Court rule on, and sustain, the Receiver's two objections after the briefing of

   this Motion is complete.

            The Receiver is able to issue distribution checks - as part of the first distribution - to the

   late claimants with "allowed claims," as described in the Late Claim Matrix, because there is

   enough in reserve from the "disallowed claims" from the first distribution. For example, the

   previously-requested claim amounts for "disallowed claims" total $1,004,380.19, so that amount

   now remains to pay the late claimants with "allowed claims" (there is $207,580.21 in "allowed"

   late claims and $175,000.00 in disputed late claims to which the Receiver has objected). This

   surplus has permitted the Receiver to now move in this Motion for authority to make a "catch-

   up" first distribution to those late claimants with "allowed claims" pursuant to the formula from

   the first distribution. As such, no claims have been rejected because they were late.

      II.       Requested Relief

                A. First Distribution for Late Claims

            First, the Receiver respectfully requests permission to make a first interim distribution to

   the late claimants with "allowed claims," according to the formula from the first distribution and

   according to the claim amounts in the Late Claim Matrix (Exhibit C).

                B. Final Distribution for Allowed Claims, Including Late Claims

            Second, the Receiver respectfully requests permission to make a final distribution of

   $1,783,000 to claimants with "allowed claims" in the Updated Claim Matrix (Exhibit A)6 and the



   6 Regarding CFF investors, this Court has previously authorized the Receiver to make a
   distribution to CFF's investors by directly paying Phillip S. Stenger as the CFF Receiver. For
   ease of reference, the Updated Claim Matrix (Exhibit A) has removed the CFF investors'
                                                               6
                               LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
     201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
       ~   1-              ~----':J~J-'--                ~-_'-L




Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 7 of 13




   Late Claim Matrix (Exhibit C), according to their respective claim amounts and based on the

   procedures previously approved by this Court. Below is a summary of the Court-approved

   procedures.

                The Receiver was authorized to make distributions on a pro-rata7 basis based on the

   investor's or creditor's proportionate share of the total amounts invested by or owed to all

   investors and creditors in Trade. The claim amount for each investor was a net claim amount,

   which represents all amounts invested by that investor subtracted by all amounts received by that

   investor pre-receivership or post-receivership.

                At the same time, the Receiver has determined the total dollar amount of all investments

   into, and other claims against, Trade (the "Investment Claim Total"). For purposes of this final

   distribution, the Investment Claim Total is $20,248,773.88. 8 It is a different amount than the

   first distribution (which was $22,333,684.84), because: (1) the "disallowed claims" have been

   removed (which has reduced the number); (2) certain claimants with claims to which the

   Receiver objected agreed with the Receiver's proposed claim amount (which has, in most

   instances, reduced the number); and (3) the late claims have been included (which has increased

   the number).          Like the first distribution, the Receiver has determined a percentage that

   individual names and has included Mr. Stenger's name on their behalf (the first Claim Matrix
   included the CFF investors' names who submitted a claim form). Because the CFF Receiver's
   claim has been allowed in this receivership, all CFF investor clams will be discharged in this
   receivership and transferred to the CFF receivership. Because the CFF investors have been
   essentially removed from the equation to be dealt with as part of the CFF receivership, this has
   significantly reduced the total amount claimed to be owed in this receivership.

   7 "Pro-rata" means that each claimant with an allowed claim receives a distribution, the amount
   of which is calculated as follows: the amount to be distributed to all claimants (i. e., $1,783,000)
   multiplied by a fraction, the numerator of which is the amount of the claimant's allowed claim
   and the denominator of which is the total of all claims.

   8The Receiver calculated this number by adding the final claim amounts in Exhibits A and C, as
   well as the claim amounts for the two disputed late claims.

                                                                  7
                                 LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
       201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
~   __ L:                                                                         - r-___ -_
                                                   ~=-----------
                                                                              ~                                                              ~-




            Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 8 of 13




               corresponds to each investor's (or creditor's) share of the Investment Claim Total (the

               "Investment Claim Percentage,,).9

                          Like the first distribution, each "allowed" claimant has received and/or will receive a

               fixed percentage of hislher "allowed claim" from the proposed distribution amount, based on the

               following formula: the amount of the net "allowed claim" divided by the total amount of filed

               claims multiplied by the proposed distribution amount.

                          After issuing "catch-up" distribution checks to the late claimants with "allowed claims,"

               and assuming that all outstanding expenses to professionals are brought current (which

               applications have been or will be filed shortly), the Receiver will have approximately $1,823,000

               remaining in the receivership estate. The Receiver is proposing that he maintain a reserve of

               $40,000 to cover future expenses to wind-down the receivership (such as issuing 1099's,

               finalizing tax returns, and enforcing pending settlement agreements). 10 Therefore, the Receiver's

               final distribution (with the consent of the SEC) will be in the amount of $1,783,000. The

               Receiver estimates that the receivership will conclude by the Fall, which is when the Receiver is

               expected to receive a settlement payment from the final receivership lawsuit (i.e., the Silent

               Standby case)II and to conclude miscellaneous receivership issues and move to close the

               receivership.




               9 For example, if the Investment Claim Total was $50 million, and John Smith invested $5
               million, then John Smith's Investment Claim Percentage would be 10% of the Investment Claim
               Total.

               10    This reserve amount assumes that any pending and upcoming fee applications are granted.

               11 The Receiver has filed a motion to approve that settlement in Case No. ll-CIV -80977 [DE
               33], which this Court has granted [DE 34].
                                                                              8
                                              LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
                    201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
                                                                      __ -;;-c-   1-_                                     -~-




Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 9 of 13




                   C. The Matrices

              The Updated Claim Matrix and Late Claim Matrix list each claimant's name in

   alphabetical order. The Claim Matrices also include abbreviations for the names of the clubs to

   which the vast majority of claimants transferred their monies to be invested in Trade (for

   example, "NLC" refers to New Life Club, "CFF" refers to Cash Flow Financial, and "FFPIC"

   refers to Friends and Family Private Investment Club). The claim amount in the proposed final

   distribution for "allowed claims" is approximately $20,073,773.88. 12 The Matrices do not list

   any pending objections other than the objections as to the above two late claimants (all other

   objections were previously resolved and/or sustained).

              As previously authorized, the holders of "allowed claims" will be paid by the Receiver

   upon an Order from this Court granting the recommended distribution.                                  Payments by the

   Receiver will be made by check and must be cashed within ninety calendar days, absent which

   the check will be voided, the uncashed checks will be deemed "unclaimed funds" available for

   distribution to other investors and creditors, and the claim will be deemed expunged and waived.

   The Receiver has been authorized to withhold issuing checks for future distributions to claimants

   who have not cashed checks from a prior distribution. However, there were no unclaimed funds

   from the first distribution, so this exclusion will not apply now.

              The Receiver will update the claimants by posting this Motion on the receivership

   website (www.tradereceiver.com). as well as updating the "Recent News" section of the website

   regarding this filing (the Receiver has previously updated investors, on a repeated basis,

   regarding the claims process by posting on the website relevant filings, posting letters to

   investors, and updating the "Recent News" section).


   12    The Receiver calculated this number by adding the "allowed claims" in Exhibits A and C.

                                                                  9
                                  LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
        201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
--~-
                                                                         ---   -'-I~I----




Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 10 of 13




                  Attached as Exhibit H is a proposed Order which authorizes the Receiver to make: (1) a

       first interim distribution to late claimants with "allowed claims" in the Late Claim Matrix

       (Exhibit C), pursuant to the first distribution procedure; and (2) a final distribution in the amount

       of $1,783,000 to claimants with "allowed claims" in the Updated Claim Matrix (Exhibit A) and

       Late Claim Matrix (Exhibit C), pursuant to the procedure discussed above.

                     D. Disallowed Claims

                  The Receiver requests that this Court formally disallow the claims listed in the

       Disallowed Matrix (Exhibit B) and the two late claims to which the Receiver has objected in the

       Late Claim Matrix (Exhibit C), so their claims are formally disallowed in a Court Order. The

       proposed Order attached as Exhibit I formally disallows those claims.                             The Receiver has

       separated the Order authorizing the final distribution from the Order disallowing claims to permit

       the Receiver to immediately take the necessary steps to make a final distribution - as authorized

       in Exhibit H - without any potential delay in briefing or otherwise by the disputed late claimants.

           III.      Certification

                  The Receiver has conferred with the SEC regarding this Motion, and the SEC has no

       objection. The Receiver has also conferred with the CFTC, but it takes no position. Moreover,

       the Receiver has conferred with Defendants Philip W. Milton and William H. Center, who also

       have no objection.

                  WHEREFORE, the Receiver respectfully requests that this Court issue the proposed

       Order attached as Exhibit H which authorizes the Receiver to: (1) make a first interim

       distribution to late claimants with "allowed claims" in the Late Claim Matrix (Exhibit C),

       pursuant to the first distribution procedure; and (2) make a final distribution in the amount of

       $1,783,000, pursuant to the above-described procedure (which is in accordance with the


                                                                  10
                                   LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
         201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
__________________   ______ E---=-T __   -                                                             -~-




           Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 11 of 13




                     procedures approved in the prior Order on making distributions [DE 130 and DE 133]) to

                     claimants with "allowed claims" in the Updated Claim Matrix (Exhibit A) and Late Claim·

                     Matrix (Exhibit C). The Receiver also respectfully requests that this Court issue the proposed

                     Order attached as Exhibit I which disallows the claims listed in the Disallowed Matrix (Exhibit

                     B) and the two late claims of the Halls and Mr. Van Kirk to which the Receiver has objected in

                     the Late Claim Matrix (Exhibit C).

                     Dated: August 22,2012.                                  Respectfully submitted,

                                                                             LEVINE KELLOGG LEHMAN
                                                                             SCHNEIDER + GROSSMAN LLP
                                                                             Counsel for the Receiver
                                                                             201 South Biscayne Boulevard
                                                                             22 nd Floor, Miami Center
                                                                             Miami, Florida 33131
                                                                             Telephone:      (305) 403-8788
                                                                             Facsimile:      (305) 403-8789

                                                                              By: s:lPatrick J. Rengstl
                                                                                 . Patrick J. Rengstl, Esq.
                                                                                   FL BarNo. 0581631




                                                                                 11
                                                  LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
                        201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
                                   --- :   :~r:::   -1 ----                                                           l"'- 1----

Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 12 of 13




                                                    CERTIFICATE OF SERVICE

            I hereby certify that on August 22, 2012, I electronically filed the foregoing document

    with the Clerk of the Court using CMIECF. I also certify that the foregoing document is being

    served this day on all counsel of record or pro se parties identified on the attached Service List in

    the manner specified, either via transmission of Notices of Electronic Filing generated by

    CMlECF or in some other authorized manner for those counselor parties who are not authorized

    to receive electronically Notices of Electronic Filing.


                                                                     s:lPatrick J. Rengstl
                                                                     Patrick J. Rengstl, Esq.
    G03108.doc




                                                               12
                                LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
      201 South Biscayne Boulevard, 22 nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
----y.-::- ,--                                                                                                                     ~--   -'-,~   I   c---~~~_~-




      Case 9:10-cv-80737-DTKH Document 173 Entered on FLSD Docket 08/22/2012 Page 13 of 13




                                                                  SERVICE LIST

                 Patrick J. Rengstl, Esq.                                     Christopher E. Martin, Esq.
                 Attorney for Receiver                                        Susan E. Curtin, Esq.
                 LEVINE KELLOGG LEHMAN                                        Attorney for Plaintiff
                 SCHNEIDER + GROSSMAN LLP                                     SECURITIES & EXCHANGE COMMISSION
                 201 South Biscayne Blvd.                                     Miami Regional Office
                 22 nd Floor, Miami Center                                    801 Brickell Avenue, Suite 1800
                 Miami, Florida 33131                                         Miami, Florida 33131
                 Telephone: 305.403.8788                                      Telephone: 305.983.6386
                 Facsimile: 305.403.8789                                      Facsimile: 305.536.4154
                                                                              Email: martinc@sec.gov
                                                                              Email: curtins@sec.gov

                 James D. Sallah, Esq.                                        Lawrence U. Taube, Esq.
                 Former Attorney for Trade-LLC, BD LLC,                       Attorney for Defendant Philip W. Milton
                 CMJ Capital LLC, and TWTT-LLC                                LAW OFFICES OF LAWRENCE U TAUBE
                 SALLAH & Cox LLC                                             500 South Australian Avenue, Suite 630
                 Boca Corporate Center                                        West Palm Beach, Florida 33401
                 2101 N.W. Corporate Blvd., Suite 218
                 Boca Raton, Florida 33431

                 Christopher Bruno, Esq.                                      Robert and Virginia Hall
                 Attorney for Defendant William H. Center                        (Via U.S. Mail and Electronic Mail)
                 and Gregory Center
                 BRUNO & DEGENHARDT                                           Albert Van Kirk
                 10615 Judicial Drive, Suite 703                                 (Via U.S. Mail and Electronic Mail)
                 Fairfax, VA 22030

                 John Dunfee, Esq.
                 Jason Mahoney, Esq.
                 Attorney for COMMODITY FUTURES TRADING
                 COMMISSION
                 1155 21st Street, N.W.
                 Washington, DC 20581
                 Direct: (202) 418-5289




                                                                            13
                                             LEVINE KELLOGG LEHMAN SCHNEIDER + GROSSMAN LLP
                   201 South Biscayne Boulevard, 22nd Floor, Miami Center, Miami, Florida 33131 . Main: 305.403.8788 . Fax: 305.403.8789
